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EXHIBIT K-1
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GUARANTY OF COLLECTION

THIS GUARANTY OF COLLECTION is made as of , 2009
(this “Agreement’’) by Tribune Company, a Delaware corporation (the “Guarantor’’), to and for
the benefit of JPMorgan Chase Bank, N.A., as Administrative Agent (the “Agent’’), each of the
Lenders (as such term is defined in the Credit Agreement (as defined below)), and any of their
respective successors and assigns (collectively, the “Senior Lenders”) with respect to the
obligations of Chicago Baseball Holdings, LLC, a Delaware limited liability company (the
“Borrower”), in respect of the Loans (as hereinafter defined), and is acknowledged by the Agent,
as representative acting on behalf of the Senior Lenders.

WHEREAS, the Guarantor indirectly owns a membership interest in the Borrower
through direct and indirect wholly-owned limited liability company subsidiaries of the
Guarantor;

WHEREAS, pursuant to the Credit Agreement dated , 2009, by and
among the Borrower, the Lenders party thereto and the Agent (the “Credit Agreement”) and the
other Loan Documents (as defined in the Credit Agreement), the Senior Lenders have agreed to
provide to Borrower a senior secured revolving credit facility in an aggregate amount of
TWENTY-FIVE MILLION DOLLARS ($25,000,000) (the “Revolving Facility’) and a senior
secured term loan facility in an aggregate amount of FOUR HUNDRED TWENTY-FIVE
MILLION DOLLARS ($425,000,000) (together with the Revolving Facility, the “Loans”);

WHEREAS, the Senior Lenders are prepared to make the Loans to the Borrower
on conditions that include, without limitation, the condition that the Guarantor enter into this
Agreement;

WHEREAS, the Guarantor will directly benefit from the Loans being made to the
Borrower; and

WHEREAS, on December 8, 2008, Guarantor commenced a chapter 11 case in
the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), which
has been assigned case number 08-13141 (KJC).

NOW, THEREFORE, as an inducement to the Senior Lenders to make the Loans
to the Borrower, and for other good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, the Guarantor hereby agrees as follows:

1. Guaranty. Subject to the terms and conditions set forth in this Agreement,
the Guarantor hereby irrevocably, unconditionally, absolutely and directly agrees to pay to the
Agent (for the benefit of the Senior Lenders) the principal amount of, and any premium on, the
Loans, together with interest thereon, in each case to the extent provided for in the Loan
Documents, (the “Guaranteed Obligations”); provided, however, that the Guarantor shall have no
obligation to make a payment hereunder with respect to any other costs, fees, expenses,
penalties, charges or similar items payable by any Borrower Party (as defined below) in respect
of the Loans or under the Loan Documents.

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2. Guaranty of Collection and Not of Payment. Notwithstanding any other
provision of this Agreement, this Agreement is a guaranty of collection and not of payment, and
the Guarantor shall not be obligated to make any payment hereunder until each of the following
is true: (a) Borrower shall have failed to make a payment due to the Senior Lenders in respect of
such Guaranteed Obligations and the Loans shall have been accelerated, (b) the Senior Lenders
shall have exhausted all Lender Remedies (as defined below), and (c) the Senior Lenders shall
have failed to collect the full amount of the Guaranteed Obligations. The term “Borrower
Parties” shall mean the Borrower and any other person or entity (a “Person”) that has guaranteed
any payment referred to under clause (a) above under the Loan Documents (other than the
Guarantor). The term “Lender Remedies” shall mean all rights and remedies at law and in equity
that the Agent or the Senior Lenders may have against any Borrower Party, the Collateral (as
such term is defined in the Loan Documents) or any other Person that has provided credit support
in respect of the applicable Guaranteed Obligations, to collect, or obtain payment of, the
Guaranteed Obligations, including, without limitation, foreclosure or similar proceedings,
litigation and collection on all applicable insurance policies, and termination of all commitments
to advance additional funds to the Borrower under the Loan Documents. For the avoidance of
doubt, Lender Remedies shall not have been exhausted with respect to any Collateral unless and
until either (i) such Collateral, whether or not acquired in foreclosure or similar proceedings, has
been sold or disposed of for, or otherwise converted into, cash proceeds or (ii) with respect to
any Collateral which has been foreclosed on by the Senior Lenders (or any Person acting on their
behalf), the value thereof has been included in Section 3(a)(y)@i) pursuant to the proviso to the
last sentence of Section 4.

3. Cap. Notwithstanding any other term or condition of this Agreement it is
agreed that Guarantor’s maximum liability under this Agreement shall not exceed the sum of (a)
the difference between (x) $[450]' million, minus (y) the sum of (i) any payments of principal (to
the extent the principal so paid was not reborrowed under the Loan Documents or, if reborrowed,
was expressly acknowledged by the Senior Lenders pursuant to the parenthetical under Section
5(a) as not being guaranteed hereunder) made by or on behalf of Borrower or any other Borrower
Party to the Senior Lenders (or any one of them) in respect of the Loans, plus (ii) any amount of
cash proceeds collected or otherwise realized (including by way of set off) by or on behalf of any
Senior Lender, pursuant to, or in connection with, the Loan Documents or the Loans, including,
but not limited to, any cash proceeds collected or realized from the exercise of any Lender
Remedies (but excluding any cash payments of principal (to the extent such payment is already
included in clause (i) above), premium or interest (it being understood that the paid premium or
interest shall not be deemed to be unpaid for purposes of clause (b) below) received from the
Borrower and any amount received as a reimbursement of expenses, indemnification payment or
fees), plus (iii) the amount of principal or accrued and unpaid interest or accrued and unpaid
premium otherwise owing by the Borrower Parties which is affirmatively discharged, forgiven or
otherwise compromised by the Agent or the Senior Lenders, plus (b) any unpaid premium on, or
unpaid interest accruing under the Loan Documents on, the amount described in clause (x)
above.

4. Notice. As a condition to the enforcement of this Agreement, the
Guarantor shall have received written notice of any failure by Borrower to pay any Guaranteed

! Subject to determination regarding whether revolver is covered.

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Obligations to the Senior Lenders. Except for the notice required under the preceding sentence,
the Guarantor hereby waives notice of acceptance of this Agreement, demand of payment,
presentment of this or any instrument, notice of dishonor, protest and notice of protest, or other
action taken in reliance hereon and all other demands and notices of any description in
connection with this Agreement. Subject to the last sentence of Section 2 and the proviso to this
sentence, the Guarantor further waives and forgoes all defenses which may be available by virtue
of any valuation, moratorium law or other similar law now or hereafter in effect, any right to
require the marshalling of assets, and all suretyship defenses generally; provided that to the
extent the Senior Lenders (or any Person acting on their behalf) foreclose upon all or a portion of
the Collateral and do not consummate a sale or other transaction with respect thereto which has
the result of such Collateral being sold or disposed of for, or otherwise converted into, cash
proceeds within twenty-four (24) months of the date upon which such foreclosure results in the
transfer of ownership of such Collateral to the Senior Lenders (unless the Senior Lenders (or any
Person acting on their behalf, including Major League Baseball, the Office of the Commissioner
of Major League Baseball or any of their respective affiliates) have commenced a process to sell
or otherwise dispose of such Collateral, in which case, this proviso shall not apply for so long as
the Senior Lenders (or any such Person) are continuing to diligently pursue such sale or
disposition), the Guarantor shall be entitled to a valuation of such Collateral by an independent
valuation expert mutually selected by the Guarantor and the Senior Lenders (with the value of
such Collateral to be established on a fair market value basis, assuming an orderly sale, as of the
date of such valuation) and such valuation shall be included in the amount referred to in Section
3(a)(y)(ii) above (it being understood that if such Collateral is thereafter sold or disposed of for,
or otherwise converted into, cash proceeds in an amount greater than the amount of such
valuation, only the difference between (x) the total amount of cash proceeds of such Collateral
and (y) the amount of such valuation shall be incrementally included in Section 3(a)(y)(ii)).

5. Absolute Obligation. Subject to the provisions of Sections 1, 2, 3 and 4,
the obligations of the Guarantor hereunder shall be absolute and unconditional and shall not be
subject to any reduction, limitation, impairment or termination for any reason, including, without
limitation, any claim of waiver, release, surrender, alteration or compromise, and shall not be
subject to any setoff, counterclaim, deduction, diminution, abatement, suspension, reduction,
recoupment or termination whatsoever by reason of the invalidity, illegality or unenforceability
of the Guaranteed Obligations. Without limiting the generality of the foregoing, subject to the
provisions of Sections 1, 2, 3 and 4, the obligations of the Guarantor hereunder shall not be
released, discharged, impaired or otherwise affected by any circumstance or condition
whatsoever (whether or not the Borrower, any other Borrower Party, the Guarantor, the Agent or
any Senior Lender has knowledge thereof) which may or might in any manner or to any extent
vary the risk of the Guarantor or otherwise operate as a release or discharge of the Guarantor as a
matter of law or equity (other than the indefeasible payment in full of all of the Guaranteed
Obligations), including, without limitation:

(a) any amendment, modification, addition, deletion or supplement to or other
change to any of the terms of the Loan Documents, or any assignment or transfer of any
thereof, or any furnishing, acceptance, surrender, substitution, modification or release of
any security for, or guaranty of, the Guaranteed Obligations; provided, however, without
the prior written consent of the Guarantor, no amount of the Term Loan which has been

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repaid may be reborrowed (unless the Senior Lenders acknowledge that such amount is
not guaranteed by the Guarantor hereunder);

(b) any failure, omission or delay on the part of the Borrower or any other
Borrower Party to comply with any term of any of the Loan Documents:

(c) any waiver of the payment, performance or observance of any of the
obligations, conditions, covenants or agreements contained in the Loan Documents or
any of them or any delay on the part of the Agent or the Senior Lenders to enforce, assert
or exercise any right, power or remedy conferred on the Agent or the Senior Lenders in
the Loan Documents;

(d) any extension of the time for payment of the principal of or premium (if
any) or interest on any of the Guaranteed Obligations, or of the time for performance of
any other obligations, covenants or agreements under or arising out of the Loan
Documents or any of them, or the extension or the renewal thereof;

(e) to the extent permitted by applicable law, any voluntary or involuntary
bankruptcy, insolvency, reorganization, moratorium, alrangement, adjustment,
readjustment, composition, assignment for the benefit of creditors, receivership,
conservatorship, custodianship, liquidation, marshaling of assets and liabilities or similar
proceedings with respect to the Borrower, any other Borrower Party or the Guarantor or
any other Person or any of their respective properties or creditors, or any action taken by
any trustee or receiver or by any court in any such proceeding (including, without
limitation, any automatic stay incident to any such proceeding);

(f) any limitation, invalidity, irregularity or unenforceability, in whole or in
part, limiting the liability or obligation of the Borrower or any other Borrower Party or
any security therefor or guarantee thereof or the Agent’s or the Senior Lenders’ recourse
to any such security or limiting the Agent’s or the Senior Lenders’ right to a deficiency
judgment against the Borrower, any other Borrower Party, the Guarantor or any other
Person; and

(g) any other act, omission, occurrence, circumstance, happening or event
whatsoever, whether similar or dissimilar to the foregoing, whether foreseen or
unforeseen, and any other circumstance which might otherwise constitute a legal or
equitable defense, release or discharge (including the release or discharge of the liabilities
of a guarantor or surety or which might otherwise limit recourse against the Borrower,
any other Borrower Party, the Guarantor or any other Person, whether or not the
Borrower, any other Borrower Party, the Guarantor, the Agent or any Senior Lender shall
have notice or knowledge of the foregoing).

6. Subrogation. To the extent that the Guarantor shall have made any
payments under this Agreement, the Guarantor shall be subrogated to, and shall acquire, all
rights of the Senior Lenders against the Borrower Parties and the Collateral with respect to such
payments, including without limitation, (a) all rights of subrogation, reimbursement, exoneration,
contribution or indemnification, and (b) all rights to participate in any claim or remedy of any

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Senior Lender or any trustee on behalf of any Senior Lender against any Borrower Party or the
Collateral, in each case, whether or not such claim, remedy or right arises in equity or under
contract, statute or common law, including, without limitation, the right to take or receive from
the Borrower Parties, directly or indirectly, in cash or other property or by set-off or in any other
manner, payment or security on account of such claim, remedy or right; provided, however, that
(1) the Guarantor hereby acknowledges that, in connection with exercising any such rights
against the Borrower Parties and the Collateral, such rights are subject to the MLB Rules and
Regulations (as such term is defined in each applicable Loan Document) to the same extent as
the rights of the Senior Lenders are subject to the MLB Rules and Regulations under the Loan
Documents and (2) the Guarantor shall not exercise any right of subrogation, contribution,
indemnity or reimbursement or any other rights it may have now or hereafter have, and any and
all rights of recourse to any Borrower Party or any of its assets with respect to any payment it
makes under this Agreement until (x) all of the Obligations (as defined in the Credit Agreement)
(other than contingent indemnification obligations not yet asserted by the Person entitled thereto)
shall have been indefeasibly paid, performed or discharged in full in cash, and (y) no Person has
any further right to obtain any loans, advances or other extensions of credit under any of the
Loan Documents. If any amount is paid to the Guarantor in violation of the foregoing limitation,
then such amount shall be held in trust for the benefit of the Senior Lenders and shall forthwith
be paid to the Agent (for the benefit of the Senior Lenders) to reduce the amount of the
Guaranteed Obligations, whether matured or unmatured. N otwithstanding any other provision of
this Agreement or applicable law, the Guarantor shall not have, with respect to any payments
made by the Guarantor under this Agreement, any right of subrogation, contribution, indemnity,
reimbursement or other right whatsoever, whether by contract at law, in equity or otherwise,
against, and shall have no recourse whatsoever to, any Borrower Party other than (A)
subsidiaries of the Borrower that are disregarded as entities separate from the Borrower for
Federal tax purposes pursuant to Treasury Regulations Section 301.7701-3, (B) subsidiaries of
the Borrower that are not treated as related to the members of the Borrower pursuant to Treasury
Regulations Section 1-752-4(b), (C) subsidiaries of the Borrower that are treated as related to the
members of the Borrower pursuant to Treasury Regulations Section 1-752-4(b) solely by reason
of Borrower's ownership of an interest in such subsidiaries, (D) Ricketts Acquisition LLC
(“Ricketts NewCo”), with respect to the membership interest in Borrower owned by Ricketts
Newco (and only with respect to such membership interest and not in any other capacity or with
respect to any other asset) and then only if such membership interest constitutes Collateral, and
(E) the Borrower; provided, that in each case in clauses (A)-(E), (x) nothing in this sentence shall
provide the Guarantor with greater rights or recourse with respect to any Person described in
clauses (A)-(E) than the Guarantor would otherwise have under applicable law, and (y) all such
rights and recourse shall subject in all respects to the other provisions of this Section 6. For the
avoidance of doubt, but subject to the terms of the Subordination Agreement (as defined below),
this Agreement shall not limit the ability of the Guarantor or its subsidiaries to ask for, sue,
demand, receive and retain payments and other consideration from the Borrower or any other
Borrower Party in respect of obligations of such Persons to the Guarantor and/or its subsidiaries
which do not arise under this Agreement.

7. Continuity of Guaranteed Obligations; Bankruptcy or Insolvency. If all or
any part of any payment applied to any Guaranteed Obligation is or must be recovered, rescinded
or returned to the Borrower, the Guarantor or any other Person (other than the Senior Lenders)
for any reason whatsoever (including, without limitation, bankruptcy or insolvency of any party),

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such Guaranteed Obligation shall be deemed to have continued in existence and this Agreement
shall continue in effect as to such Guaranteed Obligation, all as though such payment had not
been made. For the avoidance of doubt, the bankruptcy, insolvency, or dissolution of, or the
commencement of any case or proceeding under any bankruptcy, insolvency, or similar law in
respect of, the Borrower or any other Borrower Party shall not require the Guarantor to make any
payment under this Agreement until all of the conditions in Section 2 and Section 4 have been
satisfied (including, without limitation, the exhaustion of all Lender Remedies).

8. Payments by Guarantor. All obligations of the Guarantor pursuant to this
Agreement shall be treated allowed (on a final, and not provisional or interim, basis)
administrative priority claims pursuant to Sections 503(b) and 507(a)(2) of the Bankruptcy Code,
without further order of the Bankruptcy Court, and shall be included, and deemed approved, in
any budget otherwise subject to approval by the Bankruptcy Court or by any other party in
interest, and shall not be subject to disallowance, subordination or estimation and shall not be
discharged, subordinated or otherwise affected by any Plan of Reorganization (as defined in the
Formation Agreement).”

9. No Waiver. No delay or omission on the part of the Agent or any Senior
Lender in exercising any rights hereunder shall operate as a waiver of such rights or any other
rights, and no waiver of any right on any one occasion shall result in a waiver of such right on
any future occasion or of any other rights; nor shall any single or partial exercise of any right
hereunder preclude any other or further exercise thereof or the exercise of any other right.

10. Representations and Warranties. The Guarantor represents and warrants
that (a) it is a corporation duly organized, validly existing and in good standing under the laws of
the jurisdiction of its organization, (b) the execution, delivery and performance by the Guarantor
of this Agreement, and the consummation of the transactions contemplated hereby, are within its
corporate powers and have been duly authorized by all necessary corporate action; (c) this
Agreement has been duly executed and delivered by the Guarantor, and constitutes the
Guarantor’s legal, valid and binding obligation enforceable in accordance with its terms; (d) the
making and performance of this Agreement does not and will not violate the provisions of any
applicable law, regulation or order, and does not and will not result in the breach of, or constitute
a default or require any consent under, any material agreement, instrument, or document to
which it is a party or by which it or any of its property may be bound or affected; (e) all consents,
approvals, licenses and authorizations of, and filings and registrations with, any governmental
authority or regulatory body or other third party (including, without limitation, the Bankruptcy
Court) have been obtained or made and are in full force and effect; and (f) by virtue of the
Guarantor’s relationship with the Borrower, the execution, delivery and performance of this
Agreement is for the direct benefit of the Guarantor and the Guarantor has received adequate
consideration for this Agreement.

11. | Enforcement Expenses. The Guarantor hereby agrees to pay all out-of-
pocket costs and expenses of the Agent and each Senior Lender in connection with the
enforcement of this Agreement (including, without limitation, the reasonable fees and
disbursements of counsel employed by the Agent or any of the Senior Lenders); provided that no

2 Subject to bankruptcy review by all parties.

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payment shall be due and owing under this Section 11 during the pendancy of any good faith
dispute between the Guarantor and the Agent or the Senior Lenders regarding the enforcement of
this Agreement against the Guarantor and such payment shall be due only if (A) Guarantor
agrees to make such payment or (B) a court of competent jurisdiction has determined pursuant to
a final non-appealable order that this Agreement may be enforced against the Guarantor.

12. Tax Matters. The Guarantor hereby acknowledges and agrees that none of
the Agent, any of the Senior Lenders, any other Secured Party (as defined in the Credit
Agreement), or any party affiliated with or related to any of them makes any representation or
warranty regarding the Federal, state or local income tax consequences of (i) this Agreement, (ii)
the formation of the Borrower or (iii) the payment of the Estimated Special Distribution Amount
or Final Special Distribution Amount (as such terms are defined in the Tax Matters Agreement
referred to in the Credit Agreement).

13. Fraudulent Conveyance. Notwithstanding any provision of this
Agreement to the contrary, it is intended that this Agreement, the Guarantor’s guarantee of the
Guaranteed Obligations hereunder and any liens and security interests securing the Guarantor’s
obligations under this Agreement, not constitute a Fraudulent Conveyance (as defined below).
Consequently, Guarantor agrees that if this Agreement, the Guarantor’s guarantee of the
Guaranteed Obligations hereunder or any liens or security interests securing the Guarantor’s
obligations under this Agreement, would, but for the application of this sentence, constitute a
Fraudulent Conveyance, this Agreement, such guarantee and each such lien and security interest
shall be valid and enforceable only to the maximum extent that would not cause this Agreement,
such guarantee or such lien or security interest to constitute a Fraudulent Conveyance, and this
Agreement shall automatically be deemed to have been amended accordingly at all relevant
times. For purposes of this Section 13, the term “Fraudulent Conveyance” means a fraudulent
conveyance under Section 548 of the Bankruptcy Code (as defined in the Credit Agreement) or a
fraudulent conveyance or fraudulent transfer under the provisions of any applicable fraudulent
conveyance or fraudulent transfer law or similar law of any state, nation or other governmental
unit, as in effect from time to time. Notwithstanding the foregoing, the obligations of the
Guarantor under the Subordinated Guaranty of Collection, dated as of , 2009, by the
Guarantor to and for the benefit of , as Subordinated Creditor Agent, each of the Lenders
(as defined in the Subscription Agreements referred to therein) and their respective successors
and assigns, shall be disregarded for purposes of determining whether a Fraudulent Conveyance
has occurred for purposes of this Section 13.

14. Exculpation of Senior Lenders. The Guarantor acknowledges and agrees,
on behalf of itself and each of its Affiliates, that none of J.P. Morgan Securities Inc., J PMorgan
Chase Bank, N.A., Citibank, N.A., Banc of America Securities LLC, Bank of America, N.A.,
any of the other Senior Lenders, any of their respective Affiliates, successors or assigns, or any
officer, director, partner, trustee, equity holder, agent, employee, attorney, attorney-in-fact,
advisor or controlling Person of any of the foregoing (collectively, the “Senior Lender Parties’)
shall have any duty (including any fiduciary duty or any other express or implied duty), liability,
obligation or responsibility whatsoever to the Guarantor or any of its Affiliates arising from, in
connection with or relating to (i) the Loans and other extensions of credit contemplated by the
Credit Agreement and the other Loan Documents (the “Senior Debt Financing”), (ii) the
Commitment Letter dated July 10, 2009, as amended and restated as of August __, 2009,

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among the Borrower, Ricketts Newco, The Joe and Marlene Ricketts Grandchildren’s Trust,
JPMorgan Chase Bank, N.A., Citibank, N.A., Bank of America, N.A. and the other parties
thereto (the “Senior Debt Commitment Letter”), or (iii) any of the transactions contemplated by
this Agreement, the Senior Debt Commitment Letter, the Credit Agreement or any of the other
Loan Documents (collectively, the “Senior Debt Documents”) or any agreement, instrument
certificate or instrument referred to in the Commitment Letter or the Senior Debt Documents,
including, without limitation, any actual or alleged breach, misrepresentation or failure to
perform any of their respective duties or obligations (including, but not limited to, any failure to
fund or otherwise extend credit) under the Senior Debt Commitment Letter, any Senior Debt
Document or any agreement, certificate or instrument related thereto (clauses (1)-(iii),
collectively, the “Financing Matters”). No Senior Lender Party shall be liable to the Guarantor
or any of its Affiliates for any action taken or not taken by such Senior Lender Party in
connection with any of the Financing Matters; provided, that, for the avoidance of doubt, the
foregoing sentence shall not, in and of itself, operate as a waiver of defenses by the Guarantor to
enforcement of this Agreement. The Guarantor hereby waives, releases and forever discharges
each of the Senior Lender Parties from any and all actions, causes of action, suits, debts, losses,
costs, controversies, damages, liabilities, judgments, claims and demands whatsoever, in law or
equity or otherwise, whether known or unknown (collectively, “Claims”) directly or indirectly
arising out of or relating to any of the Financing Matters, that the Guarantor or any of its
Affiliates ever had, now has or hereafter can, shall or may have against any of the Senior Lender
Parties, except to the extent arising as a result of (x) a demand for payment hereunder prior to the
conditions in Section 2 and Section 4 being satisfied or (y) any act of gross negligence or willful
misconduct committed by such Person at any time following the date hereof as determined bya
court of competent jurisdiction pursuant to a final non-appealable order. Furthermore, the
Guarantor covenants not to sue any Senior Lender Party in connection with or assert, and agrees
to cause its Affiliates not to sue any Senior Lender Party in connection with or assert, any Claims
which they or any other party now or may hereafter have in connection with any Financing
Matter, except to the extent arising as a result of (x) a demand for payment hereunder prior to the
conditions in Section 2 and Section 4 being satisfied or (y) any act of gross negligence or willful
misconduct committed by such Person at any time following the date hereof as determined bya
court of competent jurisdiction pursuant to a final non-appealable order. Each of the Senior
Lender Parties shall be an intended third party beneficiary of this Section 14 and may enforce the
terms of this Section 14 as if such Senior Lender Party were a direct party to this Agreement, and
this Section 14 may not be amended, supplemented, waived or otherwise modified without the
prior written consent of each of JPMorgan Chase Bank, N.A., Citibank, N.A. and Bank of
America, N.A.

15. Miscellaneous.

(a) This Agreement shall be governed by and construed in accordance with
the laws of the State of New York applicable to agreements made and to be performed
entirely in New York.

(b) The Guarantor hereby irrevocably and unconditionally submits, for itself
and its property, to the exclusive jurisdiction of any New York State court or federal court
of the United States of America sitting in New York City and any appellate court from
any thereof, in any action or proceeding arising out of or relating to this Agreement, or

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for recognition or enforcement of any judgment, and the Agent hereby irrevocably and
unconditionally agrees that all claims in respect of any such action or proceeding shall be
heard and determined exclusively in any such New York State court or, to the extent
permitted by law, in such federal court. The Guarantor agrees that a final judgment in
any such action or proceeding shall be conclusive and may be enforced in other
jurisdictions by suit on the judgment or in any other manner provided by law. Nothing in
this Agreement shall affect any right that any party (other than the Guarantor) may
otherwise have to bring any action or proceeding relating to this Agreement in the courts
of any jurisdiction. The Guarantor irrevocably and unconditionally waives, to the fullest
extent it may legally and effectively do so, any objection that it may now or hereafter
have to the laying of venue of any suit, action or proceeding arising out of or relating to
this Agreement in any New York State or federal court. The Guarantor hereby
irrevocably waives, to the fullest extent permitted by law, the defense of an inconvenient
forum to the maintenance of such action or proceeding in any such court.

(c) This Agreement shall inure to the benefit of and be binding upon the
Guarantor and its successors and assigns and the Agent, the Senior Lenders and their
respective successors and assigns.

(d) This Agreement constitutes the entire agreement of the parties hereto with
respect to the subject matter hereof and supersedes all prior agreements and
understandings, oral or written, between the parties related thereto, other than the
Subordination Agreement dated as of the date hereof, by and among the Borrower,
Ricketts Newco, certain other parties thereto, the Guarantor, certain of its subsidiaries
and the Agent (the “Subordination Agreement”). The parties hereto acknowledge and
agree that, notwithstanding anything to the contrary in this Agreement, any and all rights
and remedies that the Guarantor may have under this Agreement against any Borrower
Party or any of their assets, and any obligations that any Borrower Party may have
hereunder to the Guarantor, shall be subject to the terms of the Subordination Agreement.

(e) Each reference herein to the Guarantor shall be deemed to include the
successors and assigns of the Guarantor, all of whom shall be bound by the provisions of
this Agreement; provided, however, that the Guarantor shall not, without obtaining the
prior written consent of the Senior Lenders (which consent may be withheld or
conditioned in the Senior Lenders’ sole discretion), assign or transfer this Agreement or
the Guarantor’s obligations and liabilities under this Agreement, in whole or in part, to
any other Person (and any attempted assignment or transfer by Guarantor without such
prior written consent shall be null and void). Upon the written request of the Senior
Lenders, the Guarantor shall assign this Agreement to any Person who acquires all or
substantially all of the assets of Guarantor; provided, that the Senior Lenders shall] have
no duty or obligation to make such request. Each reference herein to the Senior Lenders
shall be deemed to include the successors and assigns of the Senior Lenders under the
Credit Agreement; it being understood that this Agreement shall not be for the benefit of,
or be assigned to, any refinancing or refunding source with respect to the Guaranteed
Obligations (it being acknowledged that an amendment, restatement, waiver or other
modification of the terms of the Credit Agreement or other Loan Documents shall not
constitute a refinancing or refunding for purposes of this provision) without the prior

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written consent of the Guarantor, provided, that in no event shall the foregoing prevent or
restrict any Senior Lender from making an assignment, selling a participation in, pledging
or granting a security interest in or otherwise transferring all or any portion of its interests
in the Loans (and its corresponding interest in the guarantee provided for hereunder)
under the applicable provisions of Section 9.04(b)-(g) of the Credit Agreement (as in
effect on the date hereof, except to the extent the Guarantor consents to any subsequent
amendment or other modification to such provisions) or impair any Senior Lender’s
rights under this Agreement as a result of any such assignment, participation, pledge,
security interest or transfer made in accordance with such provisions.

(f) This Agreement is for the benefit only of the Agent and the Senior
Lenders, shall be enforceable by them alone, is not intended to confer upon any third
party any rights or remedies hereunder, and shall not be construed as for the benefit of
any third party; provided, however, that (i) the Agent shall be permitted, in its sole
discretion, to pay or to direct the Guarantor to pay any and all amounts payable pursuant
to this Agreement to any Senior Lender or any third party, and (ii) each of the Senior
Lender Parties may enforce the provisions of Section 14 of this Agreement,

(g) EACH PARTY HERETO, FOR ITSELF AND ITS AFFILIATES,
HEREBY IRREVOCABLY AND UNCONDITIONALLY WAIVES TO THE
FULLEST EXTENT PERMITTED BY APPLICABLE LAW ALL RIGHT TO TRIAL
BY JURY IN ANY ACTION (WHETHER BASED ON CONTRACT, TORT OR
OTHERWISE) ARISING OUT OF OR RELATING TO THE ACTIONS OF THE
PARTIES HERETO OR THEIR RESPECTIVE AFFILIATES PURSUANT TO THIS
AGREEMENT IN THE NEGOTIATION, ADMINISTRATION , PERFORMANCE OR
ENFORCEMENT HEREOF AND THEREOF. THE PARTIES AGREE THAT ANY
SUCH ACTION OR CAUSE OF ACTION SHALL BE TRIED BY A COURT TRIAL
WITHOUT A JURY. WITHOUT LIMITING THE FOREGOING, THE PARTIES
FURTHER AGREE THAT THEIR RESPECTIVE RIGHT TO A TRIAL BY J URY IS
WAIVED BY OPERATION OF THIS SECTION AS TO ANY ACTION,
COUNTERCLAIM OR OTHER PROCEEDING WHICH SEEKS, IN WHOLE OR IN
PART, TO CHALLENGE THE VALIDITY OR ENFORCEABILITY OF THIS
AGREEMENT OR ANY PROVISION HEREOF. THIS WAIVER SHALL APPLY TO
ANY SUBSEQUENT AMENDMENTS, RENEWALS, SUPPLEMENTS OR
MODIFICATIONS TO THIS AGREEMENT.

16. Miscellaneous.

(a) This Agreement may not be modified or amended except by an instrument
or instruments in writing signed by each of the parties hereto and, with respect to any
amendment or modification of Section 14, each of J PMorgan Chase Bank, N.A.,
Citibank, N.A. and Bank of America, N.A.

(b) All notices and other communications hereunder will be in writing and
given by certified or registered mail, return receipt requested, nationally recognized
overnight delivery service, such as Federal Express or facsimile (or like transmission)
with confirmation of transmission by the transmitting equipment or personal delivery

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against receipt to the party to whim it is given, in each case, at such party’s address or
facsimile number set forth below or such other address or facsimile number as such party
may hereafter specify by notice to the other parties hereto given in accordance herewith.
Any such notice or other communication shall be deemed to have been given as of the
date so personally delivered or transmitted by facsimile or like transmission (with
confirmation of receipt), on the next business day when sent by overnight delivery
services or five days after the date so mailed if by certified or registered mail:

If to the Guarantor: Tribune Company
435 North Michigan Avenue
Chicago, Illinois
Attention: General Counsel
Fax No.: (312) 222-4206

with a copy to:

McDermott Will & Emery LLP
600 13th Street, N.W.
Washington, D.C. 20005
Attention: Blake D. Rubin and
Andrea M. Whiteway
Fax No: (202) 756-8087

If to the Agent: JPMorgan Chase Bank, N.A., as Agent
[Remainder To Be Completed]

(c) If any term or provision of this Agreement, or the application thereof to
any Person or circumstance, shall to any extent be held invalid or unenforceable in any
jurisdiction, then (i) as to such jurisdiction, the remainder of this Agreement, or the
application of such term or provision to Persons or circumstances other than those as to
which such term or provision is held invalid or unenforceable in such jurisdiction, shall
not be affected thereby, (ii) the court making such determination shall have the power to
reduce the scope, duration, area or applicability of such provision, to delete specific
words or phrases, or to replace any invalid or unenforceable provision with a provision
that is valid and enforceable and comes closest to expressing the intention of the invalid
or unenforceable provision, and (iii) each remaining term and provision of this
Agreement shall be valid and enforceable to the fullest extent permitted by applicable
law. Any such invalidity or unenforceability in any jurisdiction shall not invalidate or
render unenforceable such provision in any other jurisdiction.

(d) This Agreement may be executed in one or more counterparts, all of
which shall be considered one and the same agreement, and will become effective upon
the later to occur of (i) when one or more counterparts have been signed by a party and
delivered to the other parties, and (ii) when Guarantor’s entry into this Agreement is
approved by the Bankruptcy Court. Copies of executed counterparts transmitted by
telecopy, telefax or other electronic transmission service shall be considered original

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executed counterparts for purposes of this Section 16(d), provided that receipt of copies
of such counterparts is confirmed.

[The next page is the signature page]

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IN WITNESS WHEREOF, the Guarantor has executed this Agreement as of the date first

above written.

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TRIBUNE COMPANY

By:
Name:
Title:

Acknowledged and Agreed as of the date first
written above:

JPMORGAN CHASE BANK, N.A., as Agent

